           Case 2:06-cr-00106-RSM         Document 157      Filed 08/16/06     Page 1 of 2



1                                        THE HONORABLE RICARDO S. MARTINEZ
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7                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
8                                     AT SEATTLE
9    UNITED STATES OF AMERICA,                 )
                                               )      CASE NO. CR06-106RSM
10                               Plaintiff,    )
                                               )
11                 v.                          )      ORDER CONTINUING TRIAL DATE
                                               )
12                                             )
     FELIPE MARAMBA,                           )
13   ELEAZAR BASILIO,                          )
     JONATHAN ESCALANTE, and                   )
14   ROLANDO HERNANDEZ,                        )
                                               )
15                           Defendants.       )
                                               )
16

17          The Court having reviewed the motions by defendants ELEAZAR BASILIO and
18   JONATHAN ESCALANTE to continue the trial date, and having reviewed the records
19   and files herein, in particular the Government’s response to the motion, and having
20   considered arguments made at a status conference held on this matter on August 14,
21   2006, makes the following findings and enters the following order:
22          The Court finds that pursuant to 18 U.S.C. §3161(h)(8)(A) and §3161(h)(8)(B)(i),
23   (ii) and (iv), the ends of justice served by continuing the trial date from August 28, 2006
24   to November 20, 2006, outweigh the best interests of the public and the defendants in a
25   speedy trial. This matter is complex due to the number of defendants and amount of
26   discovery involved. Moreover, defendants BASILIO and ESCALANTE were recently
27   arraigned and it is therefore unreasonable to expect their attorneys to adequately prepare
28   for trial before August 28, 2006. Additionally, failure to grant a continuance to
     Order to Continue Trial Date/
     MARAMBA, et al/CR06-106RSM — 1                                               UNITED STATES ATTORNEY
                                                                                   700 Stewart Street, Suite 5220
                                                                                  Seattle, Washington 98101-1271
                                                                                           (206) 553-7970
           Case 2:06-cr-00106-RSM        Document 157       Filed 08/16/06    Page 2 of 2



1    November 20, 2006 would deny the defendants the time necessary for effective

2    preparation, taking into account the exercise of due diligence, and would result in a

3    miscarriage of justice.

4           IT IS HEREBY ORDERED that trial in this matter is continued from

5    August 28, 2006 to November 20, 2006.

6           IT IS FURTHER ORDERED that, for purposes of computing the time limitations

7    imposed by the Speedy Trial Act, 18 U.S.C. §§ 3161-3164, the period of delay from

8    August 28, 2006, up to and including November 20, 2006, is excludable time pursuant to

9    18 U.S.C. § 3161(h)(8)(B)(iv).

10          DATED this 16 th day August, 2006.

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                                                      A
                                                      RICARDO S. MARTINEZ
                                                      UNITED STATES DISTRICT JUDGE
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16   Presented by:

17

18

19   /s Jill Otake

20   JILL OTAKE

21   Assistant United States Attorney

22   WA Bar # 28298

23   United States Attorney’s Office

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     Order to Continue Trial Date/
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